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&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

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&nbsp;

NO. 14-11-00528-CV

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&nbsp;

TRAVIS HARRIS, Appellant

&nbsp;

V.

&nbsp;

ALTA PINE FOREST, Appellee

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&nbsp;

On Appeal from County Civil Court at Law No. 3

Harris County, Texas

Trial Court Cause No. 991273

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&nbsp;

M E M O R
A N D U M&nbsp; &nbsp;O P I N I O N

This appeal is from a judgment signed June 7, 2011.&nbsp; No clerk’s
record has been filed.&nbsp; The clerk responsible for preparing the record in this
appeal informed the court appellant did not make arrangements to pay for the
record.&nbsp; 

On August 11, 2011, notification was transmitted to all
parties of the court’s intention to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex. R. App.
P. 37.3(b).

Appellant has not provided this court with proof of payment
for the record. Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Brown, Boyce, and McCally.

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